











Opinion issued January 13, 2005






&nbsp;






In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-01272-CV
____________

IN RE JOE LONGORIA, Relator




Original Proceeding on Petition for Writ of Mandamus



&nbsp;
O P I N I O N
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a petition for writ of mandamus complaining that Judge York



has abused his discretion by vacating his order granting nonsuit without prejudice on
October 29, 2004 in trial court cause no. 1996-55808.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court denies the petition for writ of mandamus.  
PER CURIAM
Panel consists of Justices Nuchia, Hanks, and Higley.


